Case 1:99-cV-01260-.]DB-tmp Document 90 Filed 06/09/05 Page 1 of 2 Page|D 67

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IN THE UNITEI) sTATEs DIsTRICT COURT "ED BY ------ - c,c.
FOR THE WESTERN DISTRICT OF TENNESSEE 95 JUH
EASTERN DIVISION `9 PN h= 32
§G§;§§Tr HS 91 '§H_Oue
BERNELL S., JR., ’*”`"D GF tie ;;r~“iirgis

Plaintiff,
vs. No.: 1:99-1260 Bre-P

CORRECTIONS CORPORATION
OF AMERICA, et al,.

\_V`_¢\_/\_¢\_/\-/\-H\¢/‘_/\_/

Defendants.

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the Satisfaction of the Court that the parties have agreed, as
evidenced by the Signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
Scheduled Status Conference on June 24, 2005.

Dated: this q day of d UV\Q , 2005.

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+BME-l,-BREEN 774 m P\..qm
UNITED sTATES-Bis-T-Rie¥ JUDGE

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Wlth Rule 58 and/or 79(3} FRCP on §'Z~§ZQ§

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 90 in
case 1:99-CV-01260 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

